           Case 1:20-cv-05746-LGS Document 42 Filed 10/20/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
WOMEN FOR AMERICA FIRST,                                      :
                                             Plaintiff,       :   20 Civ. 5746 (LGS)
                                                              :
                           -against-                          :         ORDER
                                                              :
DE BLASIO, et al.,                                            :
                                             Defendants. :
------------------------------------------------------------- X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on October 8, 2020, the parties filed a joint letter and proposed Civil Case

Management Plan and Scheduling Order pursuant to the Court’s Individual Rules (Dkt. No. 37);

        WHEREAS, in the parties’ October 8, 2020, joint letter, Defendants indicated that they

seek “a stay of discovery, including Initial Discovery pursuant to Rule 26(a)(1), pending the

outcome of [their] proposed motion to dismiss, as discovery would be wasteful in the event that

the motion . . . granted” (Dkt. No. 37, p. 2);

        WHREAS, on October 13, 2020, the Court issued an Order directing Plaintiff to file any

letter in opposition to Defendants’ request for a stay pending resolution of the motion to dismiss

(Dkt. No. 39);

        WHEREAS, on October 19, 2020, Plaintiff, pursuant to the Court’s October 13, 2020,

Order, filed a letter indicating it “declines to mount an opposition to the request to stay,” as a

stay is “in the best interests of judicial economy and further streamlines [P]laintiff’s ability to

seek redress,” (Dkt. No. 41); it is hereby

        ORDERED that, this action is STAYED pending resolution of Defendants’ motion to

dismiss.

Dated: October 20, 2020
       New York, New York
